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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America      *


                                              Cr.No. l:13-cr-00028-SM


Kurt Sanborn                  *



    ASSENTED-TO MOTION FOR MENTAL COMPETENCY DETERMINATION


       Defendant Kurt Sanborn, by and through his counsel, Ramsdell Law Firm, P.L.L.C,

moves for a determination regarding Mr. Sanborn's mental competency pursuant to 18 U.S.C.

§4241(a). In support of his assented-to motion, Mr. Sanborn represents the following:

       1.      On May 9, 2014, Mr. Sanborn pled guilty to one count of wire fraud and one

count of bank fraud. A sentencing hearing is scheduled for June 24, 2015.

       2.      The presentence report prepared by the United States Probation Office indicates

that Mr. Sanborn has suffered from mental health issues since at least December 2014.


Presentence Investigation Report ("PSR"), 1|66A. In December 2014, Mr. Sanborn twice

attempted suicide, including once while in custody. PSR, f 66A.

       3.      Undersigned counsel visited Mr. Sanborn at the Strafford County House of

Corrections yesterday, May 27, 2015. Mr. Sanborn's remarks and responses to undersigned

counsel's questions indicated a lack of awareness about the history and status of the above-

captioned case, the plea agreement, and undersigned counsel's representation of him. Mr.

Sanborn's remarks and responses indicated an inability to understand the nature of the

proceedings or to assist counsel at a sentencing hearing.

       4.      18 U.S.C. §4241(a) provides that: "[a]t any time after the commencement of a

prosecution for an offense and prior to the sentencing of the defendant... the defendant... may
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